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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MICHAEL SAUNDERS, on behalf of himself and
all others similarly situated,
                       Plain�ﬀs,
         -against-
                                                              24-CV-05766 (DEH) (RFT)
 INHALE CANNABIS CO. INC.,
                       Defendant.
                                                                       ORDER


ROBYN F. TARNOFSKY, United States Magistrate Judge:

       Plaintiff timely served Defendant INHALE CANNABIS CO. INC (“Defendant”) with the

summons and complaint in this matter on November 19, 2024. (See ECF 9.) Defendant was

therefore required to respond to the Complaint by December 10, 2024. (See id.) To date,

Defendant has not responded to the complaint.

       Defendant is hereby Ordered To Show Cause why an order should not be issued

pursuant to Fed. R. Civ. P. 55 instructing Plaintiff to seek default judgment against Defendant

for failure to defend this action. This Order To Show Cause may be satisfied by filing a written

response to the complaint by December 27, 2024 along with a declaration explaining why

Defendant did not timely respond to the complaint. Plaintiff is directed to serve by December

13, 2024, a copy of this Order To Show Cause to Defendant. Service shall be made by registered

mail and by any email addresses used by Defendant and known to Plaintiff at their principal

place of business, identified in the complaint as 43 W. 33rd, New York, N.Y., 10000 (ECF 1).

Plaintiff is directed to file confirmation of such mailings on the docket by December 13, 2024.
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        Defendant is warned that failure to respond to this Order To Show Cause may result in

an order instructing Plaintiff to seek a default judgment against Defendant for failure to defend

this action.

DATED: December 11, 2024
       New York, New York


                                                        SO ORDERED.

                                                        __________________________
                                                        ROBYN F. TARNOFSKY
                                                        United States Magistrate Judge
